






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00208-CV






In the Interest of R. A. Q.






FROM COUNTY COURT AT LAW NO. 1 OF WILLIAMSON COUNTY

NO. 09-3302-FC1, HONORABLE GEORGE E. HOLMES, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellee The Office of the Texas Attorney General filed a motion to dismiss
this&nbsp;appeal.  The trial court signed the judgment in this case on March 5, 2010.  Appellant John&nbsp;Mark
Quaak filed a motion for new trial on April 5, 2010. (1)  The trial court granted the motion for new trial
on April 16, 2010. See Tex. R. Civ. P. 392b.  Because there is no longer a final judgment in this case,
this Court lacks&nbsp;jurisdiction over this appeal.  We grant appellee's motion and dismiss this appeal. 
Tex. R. App. P. 43.2(f).

						                                                                                    

						G. Alan Waldrop, Justice 

Before Justices Patterson, Waldrop and Henson

Dismissed for Want of Jurisdiction

Filed:   August 20, 2010
1.   The document was filed in the clerk's office on April 9, 2010.  Quaak, however, certified
that he mailed the motion through the United States Postal System by first-class mail by placing it
into the inmate mail system on April 5, 2010.  This empowered the trial court to deem the motion
timely filed.  See Tex. R. Civ. P. 5.


